Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 1 of 13
 Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 2 of 13




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Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 4 of 13
Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 5 of 13




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     Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 6 of 13




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Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 7 of 13
              Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 8 of 13

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  Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 9 of 13




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        Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 10 of 13




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Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 11 of 13
         Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 12 of 13




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Case 1:17-cv-00161-JRH-BKE Document 1 Filed 10/25/17 Page 13 of 13
